Case: 4:17-cv-01657-.]AR Doc. #: 1-1 Filed: 06/13/17 Page: 1 of 6 Page|D #: 4

17SL-AC12109

IN THE CIRCUIT COURT OF S'l`. LOUIS COUNTY, l\/[ISSOURI
ASSOCIATE CIRCUIT DIVISION

Jasmine Green,
Plaintiff, Case No.:

vs. Div. No.:
Syndicated Office Systems, LLC dba
Central Financial Control
JURY TRIAL DEMANDED
Serve at:
Registered Agent» CT Corporation
System
l20 S CentralAve
Clayton, MO 63l 05

Dcfendarxt,

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PETITION FOR DAMAGES

Comes now Plaintiff, .Tasmine Green, by and through counsel; Matthew P. Cook, and states the

following:
INTROI)UCTION AND JU B!§DIQTION
l. This is an action for statutory damages brought by an individual consumer for violations of the

Fair Debt Collections Practices Act, 15 U.S.C. §1692 et. seq. (“FDCPA”).
2. This Court has jurisdiction of the FDCPA claim under 15 U.S.C. §1692k(d).
3. Venue is appropriate in this Court because Dei`endant directed its illicit conduct at Plaintiff in St.

Louis County, Missouri.

4. Plaintiff demands a trial by jury on all issues so triable.
PART E
5. Plaintiff is a natural person currently residing in St. Louis County, Missouri. Plaintiff is a

consumer within the meaning of the FDCPA. The alleged debt owed arises out of consumer, family
and household transactions
6. Defendant is a corporation with its principal place of business in Anaheim, CA. The principal

business purpose of Defendant is the collection of debts and Defendant regulari attem ts to collect

EXH¥B|T

 
   

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debts.
7. Defendant is engaged in the collection of debts from consumers using the mail and telephone in
Missouri. Defendant is a “debt collector” as defined by the PDCPA. 15 U.S.C. §1692a(6).
F_A§l§

8. Defendant’s collection activity of Which Plaintiff complains occurred within the previous twelve
(l2) months.
9. Defendant is reporting on Plaintift“s credit reports as a collection account for an alleged debt
totaling $296.00.
10. ln response to Defendant credit reporting Plaintiff contacted Defendant on or around, April 6,
2017 in order to obtain more information about the alleged debt.
ll. During the call Defendant offered Plaintiff a time-sensitive settiement offer for about $200.00,
or about 30% off the original balance. Defendant said that the offer was only good until the end of
April 2017.
12. On or around, May 5, 2017 Plaintiff contacted Defendant again and asked if their time-
sensitive settlement offer was still valid? Defendant advised that it was and offered the exact same
settlement offer.
13. Defendant's time-sensitive settlement offers were not really time-sensitive.
14. Defendant also advised Plaintiff, during the Apri16 cali, that if Plaintiff paid on this account it
would help her obtain financing for a house and would raise her credit score.
15. Defendant's assertions (1[1[ ll-14) Were false or misleading representations intended to deceive
Plaintiff to pay on the alleged debt in violation of 15 U.S.C. §1692e.
16. l)efendant’s collection attempts and misrepresentations have caused Plaintiff to incur
actual damages, attorney’s fees, as Well as emotional distress and denial of credit.

COUN! I: VIOLATIQN OF THE FDCPA

1.7. Plaintiff re-alleges and incorporates by reference the above paragraphs

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18. i)efendant regularly attempts to collect consumer debts asserted to be due to another and at all
relevant times herein, was a “debt collector” as defined by 15 U.S.C. §1692a(6).
l9. A single action on the part of the debt collector can violate multiple sections of the FDCPA.
20. In its attempts to collect the alleged debt from Plaintiff, Defendant has committed violations of
the FDCPA, l5 U.S.C §1692 et seq. including, but not limited to the following:

a. Engaged in false, misleading and deceptive means in an attempt to collect a debt in violation
of 15 U.s.C. §rssze;
WHEREFORE, Plaintiff respectfully requests that judgment be entered against Defendant for:

A. Deciaratory judgment that Defendant’s conduct violated the FDCPA;

B. Actual damages;

C. Reiease of the alleged debt;

D. Statutory damages, costs, litigation expenses and attorney’s fees pursuant to 15 U.S.C.

1692(1<); and

E. For such other relief as the Court may deem just and proper.

By:_/s/ Matthew P. Cool<
Cook Law, LLC
Matthew P. Cook #62815
Attorney for Plaintiff
PO Box 2203-42
St. Louis, Missouri 63122
Phone: 314-200-5536

Email: Cookmle@yahoo.com

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ln the

CIRCUlT COURT
Of St. Louis County, Missouri

 

PlaintlfffPetitioner

VS.

Syndtcated Otnee _Syste:_n_s. LLG dba Centrai Flnaneia! Cantwi

 

DefendantfRespondent

17SL-AC12109

Fo'r l’-`iie Stamp On|y

 

 

Date

 

Case Number

 

Dis:ision

REQUEST FOR APPOINTMENT QF_PBOCESS_ SERVER

Comes new _E|a}ntiff

_, pursuant

Requesting Party
to Loca¥ Ru¥e 28 and at hisfher!its own risk requests the appointment of the Circuit Cler_k of

.MO 63119 314 956 1852

 

 

 

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blame of Prncess Slrver Addre"se er in the Nternatlva tamm

Naturai person(s} of lawful age to serve the summons and petition m this cause on the below
named parties This appointment as speciat process server does not inciude the authorization
to carry a concealed weapon in the performance thereof

 

 

 

 

 

 

 

 

 

 

 

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blame Narne
Ml Ave

Address Addrsss
§§i§i;i§§l§i§do 63105 ci:ylsiatemp
SERVE: SERVE:
blame Name
Address Address
City!StatelZip CitylStata/Zip

Appointed as requested:
JOAN M. GILMER, Circuit Clerk

NlattCook //M/(¢ Z_

Signature of AttornbnylaintiffiPatilioner

 

 

 

 

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By Bar No
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3 IN THE ZIST .]UI)ICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 

 

 

Judge or Division: Case Nulnber: 17SL-AC121(39

IUDY PREDDY DRAPER

Plaintiff/'Petitioner: Plaintift’s/Petitioner’s Attorney/Address:
]ASM;NE GREEN MATTHEW PAUL COOK

P.O, BOX 220342
SAINT LOUlS, MO 63 i22
vs. (314) 200~5536

 

 

 

 

Defendant!Respondent: Date, Tirne and Location of Court Appearance:
SYNDICATED OFFICE SYSTEMS, LLC 20-JUN-2GI7, 09:00 AM
DBA: CENTRAL FINANCIAL CONTROL RM. 287 NORTH, DIV 41T
yeaer Of Suit; ST LOUIS COUNTY COURT BUILDING
AC Other Tort 105 SOUTH CENTRAL AVENUE
CLAYTON, MO 63105 (Dare Fiie stamp}

 

Associate Division Summons

 

The State of Missonri to: SYNI)ICATED OFFICE SYS'I`EMS, LLC
Alias:
DBA: CENTRAL FINANCIAL CONTROL
120 S{)UTH CENTR.AL AVE
CLAYTON, MO 63105

You are summoned to appear before this court on the date, time, and location above to answer the attached
pctition. If you fail to do so, judgment by default Wili be taken against you for the relief demanded in the
petition. You may be permitted to file certain responsive pleadings, pursuant to Chapter 517 RSMo. Shonld you
have any questions regarding responsive pleadings in this case, you should consult an attorney.

SPECIAL NEEDS: If you have special needs addressed by the Amcricans With Disabilities Act, please
notify the Office of the Circuit Clerk at 314~615-8029, FAX 314-615-8739 or TT¥ at 314-615-4567, at least
three business days in advance of the court proceeding

 

o

_05/19/2017… -
Date lerk

Further lnformation:
SN[B

ST. LOUIS COUNTY

 

Slieriff’s or Server’s Return
Note to serving officers Service must not be made less than ten days nor more than sixty days from the date the Defendant/Respondent is to
appear in court.

l certify thatl have served tire above summons by: (check one)

ij delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.

l:l leaving a copy of the summons and a copy of the petition at the dwelling piace or usual abode of the Defendant/Respondent with
a person of the Defendant’szespondent’s family over the age of 15 years.
l:l (for service on a corporation) delivering a copy of the summons and a copy of the petition to

 

 

 

 

 

 

 

 

 

 

 

 

(name ) (title}.
l:l other .
Served at (address)
in (County/City of St. Louis), MO, on (date) at (time).
Printed Na.me of Sheriff or Server Signature of Sheriff or Server
Must be sworn before a notary public if not served by an authorized ofticer:
Subscribed and sworn to before me on (datc}.
(S€al)
My commission expires:
Date Notary Public
Slieriff’s Fees, ii` applicable
Surnnions
Non Est 5
Slieriff’s Deputy Salary
Supplernental Surcharge $ l0.00
Mileage $ t miles @ S. per mile)
'l`otal $

A copy of the summons and a copy of the petition must be served on each Defendant/'Respondent. For methods of service on all classes of suits,
see Supreme Court Rule 54.

 

 

 

OSCA (7-99) SM20 (ADSM) Foi' Court Use Only'. Documcnt II)# l’i'-ADSM»QSBS l 517.041 RSMo

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CT Corpora-tion

TO: Debbie Fowler

Service of Froces's_
Transmittal
osm/2017

CT Log N_umber 531260_368

Tenet Hea`lthcare Corporaticn
1445 RoSs-Av`e, F_ountain Pla`ce, Sull:e 'E400

Dal._las, TX` 75202-2703

RE:\ PracesS-Served in Mi$souri

l‘-'QR: Syndicated'Office Systems, LLC (Domestic Stat:e: CA)

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Jasnn'ne. Green, Ptlf. vs.- Syndicated'Office-Systems, i-.LC, etc., Df.t.
Summons, Reque'st, P_etition

St. l_ou`is Cit Circuit. Court, MO
CBSE # 175 C12109

Violation of Falr Deb_t Collection Pract_ice Act

\C T Corporation System, Cla_yton, MO

By Proc'ess sewer on 05/_19/2017 at13:09
N_lissour_i
cmc/2017 at 09:00 a.m._

Matthew P. Ccck
Cook Law,_ E.L_C.

PO Box 220342

St. _Louis, MD '63122
314.-200-5536

CT has retained the current log, R"etain Date: 05/201211`17, £xpected Purge Date:
05/25/201.7

lmage SOP
Ernail` Notification, Debbie.Fowler debbie.fowler@t_enethealth.com

EmailNotification, Olga Bames olga.barnes@tenet_health-.corn

C_ T Corporaticn Syst:em
120 South_ Centrat` Avenue
Sutte 400 _

C_la on, MQ 63105

31 -863-5545

Pageinfl/vn

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Corpor.atlun‘s record keeping purposes only end is provided to
the reclp|ent for qu|ck reference. Th!s lnfon'nat§an does:not'
comtltute a legal opinion as to the nature o'|‘ actlon, the
amount of damages, the answer date, or any lnfonnatlon
contained ln _the documents themselves Reclptent ls
responsibte.for interpreth seid'doccments'.md for taking
appropriate sci_§on. -S|gna_tures on oesttfleo mall recelpts
confirm receipt of package only, not contants.

